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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

HARLEYSVILLE MUTUAL                   :
 INSURANCE COMPANY
                                      :
v.                                         Civil Action WMN-05-1107
                                      :
ESTATE OF LARRY SETH GRIFFFIN
  et al.                              :


                                 MEMORANDUM

     Before the Court is Defendant Vito Phillip Lombardo’s Motion

for Partial Summary Judgment.        Paper No. 20.1    The motion is

fully briefed.      Upon a review of the pleadings and the applicable

case law, the Court determines that no hearing is necessary and

that the motion will be granted.

     This action arises out of an automobile accident which

occurred on July 1, 2005, in Salisbury, Maryland.           One of the

vehicles involved in the accident was owned by Defendant George

Perdue Used Cars, Inc. (Perdue).          Plaintiff Harleysville Mutual

Insurance Company (Harleysville) had in force a Commercial Auto

Policy issued to Perdue.       At the time of the accident, the Perdue

vehicle was on loan to Defendant Jennie Davis while her car was

being repaired by Perdue.        The car was being driven, however, by

Larry Seth Griffin.        Harleysville maintains that Griffin was not

a permissive driver of the vehicle as defined in the policy.

     The Complaint contains three counts.          In Count I,

     1
       Also pending is Plaintiff’s motion for leave to amend the
complaint. Paper No. 28. That motion is unopposed and will be
granted for good cause shown.
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Harleysville seeks a declaratory judgment, based upon Griffin’s

non-permissive driver status, that it is not obligated to provide

a defense or indemnification for any claims asserted against

Griffin or Davis for the accident of July 1, 2004.           In Count II,

Harleysville seeks a declaratory judgment that it is not

obligated to provide liability coverage, uninsured or

underinsured motorist benefits, or any personal injury protection

coverage for any claim arising out of the July 1, 2004 accident,

again based upon Griffin’s non-permissive use of the vehicle.            In

Count III, Harleysville asks for a declaratory judgment that,

should Griffin be found to be a permissive user, Harleysville’s

coverage would be limited to the minimum required coverage under

Md. Code Ann., Transp. § 17-103(b)(1), specifically, $20,000 per

person, or $40,000 per accident.          Harleysville seeks this relief

pursuant to a clause in the insurance contract that provides for

limited coverage (up to the “compulsory or financial

responsibility law limits”) for permissive users who are

customers of auto dealerships, where the covered auto is

principally garaged.       Lombardo Exh. 1 at “SECTION II - LIABILITY

COVERAGE,” (A)(3)(a)(2)(d)(i) and (ii).2


     2
         This section provides in relevant part:

     3. Who Is An Insured

             a.    The following are “insureds” for covered
                   “autos”:


                                      2
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     In his motion for partial summary judgment, Defendant

Lombardo argues that Harleysville cannot rely on the limitation

of coverage in (2)(d)(i) and (ii), as that provision is made


                (1) You for any covered “auto”.

                (2) Anyone else while using with your
                permission a covered “auto” you own,
                hire or borrow except:

                . . .

                        (d)   Your customers, if your
                              business is shown in the
                              Declarations as an “auto”
                              dealership. However, if a
                              customer of yours:

                              (i)   Has no other available
                                    insurance (whether
                                    primary, excess or
                                    contingent), they are an
                                    “insured” but only up to
                                    the compulsory or
                                    financial responsibility
                                    law limits where the
                                    covered “auto” is
                                    principally garaged.

                              (ii) Has other available
                                   insurance (whether
                                   primary, excess or
                                   contingent) less than the
                                   compulsory or financial
                                   responsibility law limits
                                   where the covered “auto”
                                   is principally garaged,
                                   they are an “insured”
                                   only for the amount by
                                   which the compulsory or
                                   financial responsibility
                                   law limits exceed the
                                   limit of their other
                                   insurance.


                                      3
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inapplicable by a provision in the “Auto Dealers Supplementary

Schedule” attached to the policy.      Item Five of that

Supplementary Schedule provides that “[i]n accordance with

paragraph a.(2)(d) of WHO IS AN INSURED under SECTION II -

LIABILITY COVERAGE, Liability coverage for your customers is

limited unless indicated below by [placing an ‘X’ in box].”

Lombardo Exh. 3 (emphasis added).      The box immediately below,

next to the provision “If this box is checked, paragraph a.(2)(d)

of WHO IS AN INSURED under SECTION II - LIABILITY COVERAGE does

not apply,” does contain an “X”.       Id. (emphasis added).

     In its opposition, Harleysville primarily cites and

discusses irrelevant case law related to the issue of

“permissible users.”    Lombardo conceded in his motion that the

issue of whether Griffin was a permissive user is not ripe at

this point in the proceedings.     Mot. at 5.    The only issue

relevant to Lombardo’s motion is, would coverage be limited under

paragraph a.(2)(d) of the policy should Griffin be found to be a

permissive user?   Harleysville devotes a single sentence to that

issue, arguing that the Court should deny the motion as “no

discovery has been conducted on the language of the policies

which may be at issue.”    Opp. at 4.

     Under the plain language of the policy, the provision

limiting coverage to the compulsory or financial responsibility

law limits is clearly inapplicable.      Harleysville has neither


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disputed that reading of the policy nor explained how something

uncovered in discovery could possibly lead to a different

conclusion.   See Evans v. Technologies Applications & Serv. Co.,

80 F.3d 954, 961 (4th Cir. 1996) ("[a] party may not simply

assert in its brief that discovery was necessary and thereby

overturn summary judgment when it failed to comply with the

requirement of Rule 56(f) to set out reasons for the need for

discovery in an affidavit").     Accordingly, the Court will grant

the motion. A separate order consistent with this memorandum

will issue.




                                      /s/
                           William M. Nickerson
                           Senior United States District Judge


Dated: November 10, 2005




                                   5
